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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )                 8:14CR391
                                               )
       vs.                                     )                  ORDER
                                               )
JESSIE SAENZ-VALDEZ,                           )
                                               )
                     Defendant.                )


       This matter is before the court on the motion of defendant Jessie Saenz-Valdez
(Saenz-Valdez) to reconsider detention (Filing No. 47). Saenz-Valdez’s proposed third-party
custodian was investigated by Pretrial Services (Filing No. 50). The addition of a third-party
custodian does not alleviate the flight risk or danger to the community if Saenz-Valdez were
released. The motion (Filing No. 47) is denied.


       IT IS SO ORDERED.


       DATED this 7th day of May, 2015.


                                                   BY THE COURT:


                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
